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trw
UNITED STATES DISTRJCT COURT
WESTERN DISTRICT 0F TENNESSEE ,TM jj H
WESTERN DIVISION " " " ' "'
.'~| ‘-f z a fm r+; 53
AMERICOACH TOURS, lNC. , *
Individually and as Subrogee of *
DISCOVER RE, *
§‘:
Plaintiff, *
* NO. 04-2016-M3V
vs. "‘
* .]URY DEMANDED
ESPAR, INC., and MOTOR COACH *
]NDUSTRIES, INC., *
‘k
Defendants. *
and
MOTOR COACH INDUSTRIES, INC., *
\'r
Defendant/Cross-Plaintiff, *
1'€
vs. *
'k
ESPAR, lNC., *
*
`k

Plaintiff/Cross-Defendant.

 

ORDER GRANTING ADMISSION PRO HAC VICE

 

Based upon the Motion for Adrnission Pro Hac Vioe, Submitted by Mark E. Enright and
Thadford A. Fe]ton, and counsel for Motoi' Coach Industries, Inc., and the Court having received
and reviewed the Certiflcate of Good Standing regarding Mark E. Eni~ight and Thadford A.
Felton, the Motion is Wel] taken and Shall be granted lt is accordingly ORDERED that Mark E.
Eni‘ight and Thadford A. F elton Shal] be and are hereby permitted to practice before this Coui't in

the above-captioned caSe.

ENTER:

 

 

This document entered on the docket sheet in compliance
with ama 58 ana/or re(a) FRCP on y 192 5

 

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Honorable J. Breen
US DISTRICT COURT

